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                       UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORNIA                     "--- -,,,,
                                                                                      , ,
                                                                                      "" ..
                                                                                          -~~"




UNITED STATES OF AMERICA,

                      Plaintiff,
               vs.

FRANCISCO MEDINA-LOPEZ (2),

                      Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

    an indictment has been filed in another case against the defendant and
    the Court has granted the motion of the Government for dismissal of
    this case, without prejudice; or

    the Court has dismissed the case for unnecessary delay; or

~   the Court has granted the motion of the Government for dismissal,
    without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

     of the offense(s) as charged in the Indictment/Information:




          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: APRIL 17, 2012
                                            Nita L. Stormes
                                            U.S. Magistrate Judge
